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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                  SHREVEPORT DIVISION

 SHAWANNA SHEPARD                                       CIVIL ACTION NO. 5:17-1604

 VERSUS                                                 JUDGE TERRY A. DOUGHTY

 JOHNSON & JOHNSON, ET AL.                              MAG. JUDGE MARK L. HORNSBY


                                          JUDGMENT


       For the reasons stated in this Court’s Ruling,

       IT IS ORDERED, ADJUDGED, AND DECREED that Defendants Johnson & Johnson

 and Ethicon, Inc.’s Motion for Summary Judgment [Doc. No. 45] is GRANTED, and Plaintiff

 Shawanna Shepard’s claims are DISMISSED WITH PREJUDICE.

       MONROE, LOUISIANA, this 29th day of October, 2019.



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                                                              TERRY A. DOUGHTY
                                                        UNITED STATES DISTRICT JUDGE
